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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

BONNIE ZEPHRINE, et al.,                       *

                       Plaintiffs,             *

       v.                                      *      Civil Action No. AW-02-1796

PRINCE GEORGE’S COUNTY,                        *
MARYLAND, et al.,
                  Defendants.              *
                                         *****
                                     MEMORANDUM OPINION

       This suit arises out of the death of Charles Huddleston, Jr. (“Huddleston” or the “Decedent”).

Plaintiffs Bonnie Zephrine and Charles Ivy Huddleston, Sr.1 (“Plaintiffs”), as the natural parents and

personal representatives of Decedent’s Estate, bring this suit against Prince George’s County,

Maryland (“PGCM”) and PGCM Police Officer George Nichols, PGCM Police Officer David

McDonald, PGCM Police Officer David Levin, PGCM Police Officer Joseph Brooks, PGCM Police

Officer Crandell Weaver, PGCM Police Officer Thomas Warren, PGCM Police Officer Edward

Gesser, PGCM Police Officer John M. Calhoon, PGCM Police Officer James Kline, and PGCM

Police Officer Michael Economes (collectively, “Defendant Officers”), as well as the Town of

Morningside, Joel Brickell, a police officer from the Town of Morningside, Thomas Clabby

(“Clabby), an Emergency Medical Service provider, Southern Maryland Hospital Center, Dr.

Patricia Melton, and Larsen Jones Associates, P.C. On April 24, 2002, Plaintiff filed a complaint

against the listed defendants, alleging wrongful death, excessive force, Monell claims, medical

malpractice, and various state tort actions. Currently pending before the Court is Defendant


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         Plaintiffs have stated that Decedent may have one son, Alexander Anderson. If a
paternity test indicates that Decedent fathered Alexander Anderson, Plaintiffs state that
Alexander Anderson will also be a plaintiff in this suit.
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Officers, Clabby, and PGCM’s Motion to Bifurcate and Stay Discovery [192]. The Court has

reviewed the entire record, as well as the pleadings with respect to the instant motions. No hearing

is deemed necessary. See Local Rule 105.6 (D. Md. 2004). For the reasons set forth in more detail

below, the Court will grant this motion with respect to the Monell claims.

                       FACTUAL & PROCEDURAL BACKGROUND

       On or about April 26, 1999, at 9:00 p.m., police officers from PGCM and the Town of

Morningside observed Huddleston in a vehicle in a parking lot across from Andrew’s Air Force

Base. The officers followed Huddleston as he exited the parking lot and ultimately apprehended

Huddleston at or near the Andrews Manor Theater in Prince George’s County, Maryland. The

Fourth Amended Complaint (“Amended Complaint”) alleges that some of the officers involved in

the apprehension “maliciously, sadistically and cruelly” beat Huddleston and that the other officers

looked on and did not stop the abuse. The officers at the arrest scene placed Huddleston in

restraints, and the Amended Complaint alleges that officers continued to beat Huddleston despite

the fact that he was in restraints. Amend Compl. ¶¶ 36-37.

       Due to his injuries, Huddleston required medical attention, and, at some point, Emergency

Medical Services (“EMS”) personnel were summoned. The EMS personnel transported Huddleston

to Southern Maryland Hospital Center, arriving at the hospital at approximately 10:25 p.m. While

at the hospital, Huddleston remained in police custody and was retrained by “tuff-cuffs” around his

wrists and ankles. The Amended Complaint also avers that a sheet was placed over his head and at

least one other sheet was tied around his body. Amend. Compl. ¶ 43. Huddleston had trouble

breathing, and as a result of a blockage in his airway, Huddleston died of hypoxia and/or asphyxia.

       Plaintiffs filed this suit on April 24, 2002. Plaintiffs’ Amended Complaint alleges federal


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claims under 42 U.S.C. § 1983 of excessive force, deprivation of the Decedent’s constitutional

rights, and Monell claims and alleges state claims under the Maryland Wrongful Death Statute, Md.

Code Ann., Cts. & Jud. Proc. §§ 3-901 to 3-904 (2005), the Maryland Survival Act, Md. Code Ann.,

Cts. & Jud. Proc. § 6-401 and Md. Code Ann., Est. & Trusts § 7-401(x), and the Maryland

Constitution.

       On August 30, 2005, Defendant Officers, Clabby, and PGCM filed the instant Motion to

Bifurcate and Stay Discovery, urging this Court to bifurcate this proceeding so that the issue of

liability as to the Defendant Officers and Clabby initially would be resolved in one trial and any

viable claims against PGCM would be resolved in a second trial. In addition, the Motion requests

this Court stay discovery concerning the liability of PGCM. As this motion is ripe and ready for

disposition, the Court shall now issue an Opinion.

                                            DISCUSSION

       Federal Rule of Civil Procedure 42(b) governs a district court’s ability to bifurcate a civil

action. Rule 42(b) gives this Court broad discretion in determining whether to bifurcate a trial and

provides that:

                 The court, in furtherance of convenience or to avoid prejudice, or
                 when separate trials will be conducive to expedition and economy,
                 may order a separate trial of any claim, cross-claim, counterclaim, or
                 third-party claim, or of any separate issue or of any number of claims,
                 cross-claims, counterclaims, third-party claims, or issues, always
                 preserving inviolate the right of trial by jury as declared by the
                 Seventh Amendment to the Constitution or as given by a statute of
                 the United States.

Fed. R. Civ. P. 42(b); see also Hutchinson v. Yadkin Valley Bank & Trust Co., 5 F.3d 750 (4th Cir.

1993); Dixon v. CSX Transp., Inc., 990 F.2d 1440, 1443 (4th Cir. 1990).




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       The decision whether to bifurcate a proceeding is a case-specific inquiry. See Dawson v.

Prince George’s County, 896 F. Supp. 537, 540 (D. Md. 1995). In this case, Plaintiffs’ claims

against PGCM rest on the theory that PGCM’s failure to adequately “train, supervise and discipline

its officers has fostered and encouraged the use of excessive force” in violation of 42 U.S.C. § 1983.

Section 1983 authorizes a plaintiff to bring a suit for damages against any individual “who, under

color of any statute, ordinance, regulation, custom, or usage, of any State . . . subjects, or causes to

be subjected, any citizen of the United States or other person . . . to the deprivation of any rights,

privileges, or immunities secured by the Constitution . . . .” 42 U.S.C. § 1983.

       Although the Supreme Court has held that a municipality is an individual for the purposes

of Section 1983 in Monell v. Department of Social Services of the City of New York, 436 U.S. 658

(1978), the Court emphasized that:

               a municipality cannot be held liable solely because it employs a
               tortfeasor--or, in other words, a municipality cannot be held liable
               under § 1983 on a respondeat superior theory.
                                                ...
               [T]herefore, . . . a local government may not be sued under § 1983 for
               an injury inflicted solely by its employees or agents. Instead, it is
               when execution of a government’s policy or custom, whether made
               by its lawmakers or by those whose edicts or acts may fairly be said
               to represent official policy, inflicts the injury that the government as
               an entity is responsible under § 1983.


Id. at 691, 694 (emphasis in original). Because this Court may not impose vicarious liability under

Section 1983, Plaintiffs need to prove two elements to succeed in their Section 1983 claim against

PGCM. First, Plaintiffs must establish the existence of a constitutional violation, and, second,

Plaintiffs must show that those who inflicted the injury acted pursuant to a PGCM policy or custom.

In short, Plaintiffs’ case against PGCM depends on their ability to show that Defendant Officers


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violated Huddleston’s constitutional rights. See Temkin v. Frederick County Comm’rs, 945 F.2d

716, 724 (4th Cir. 1991) (“A claim of inadequate training under section 1983 cannot be made out

against a supervisory authority absent a finding of a constitutional violation on the part of the person

being supervised”); Dawson, 896 F. Supp. at 540 (Plaintiff’s “claims against the County hinge on

his ability to show that [an] ‘active’ Defendant . . .violated his constitutional rights”); Marryshow

v. Bladensburg, 139 F.R.D. 318, 319 (D. Md. 1991) (same).

       Furthermore, in their case against PGCM, Plaintiffs will have to show that the constitutional

violations, if any, were proximately caused by a policy, custom, or practice of PGCM. Monell, 436

U.S. at 691-94. To make such a showing, Plaintiffs will present evidence of all prior incidents of

police brutality. Defendant Officers may not have had any involvement in these incidents. As this

Court has noted previously, this type of evidence would rarely be admissible against the individual

or “active” defendants because the prejudicial effect of the evidence would far outweigh its

probative value. See Dawson, 896 F. Supp. at 540; Marryshow, 139 F.R.D. at 320; see also Fed. R.

Evid. 403 (“Although relevant, evidence may be excluded if its probative value is substantially

outweighed by the danger of unfair prejudice”).

       Because of this danger of prejudice as well as the derivative nature of Plaintiffs’ Section

1983 claims against PGCM, this Court will grant the Motion to Bifurcate and Stay Discovery, but

only with respect to Plaintiffs’ Monell claims.




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                                        CONCLUSION

       This Court finds that conducting a separate trial for the Section 1983 claims against PGCM

will serve the interests of convenience, the avoidance of prejudice, and judicial economy, and,

therefore, this Court will GRANT the Motion to Bifurcate and Stay Discovery [192]. An Order

consistent with this Opinion will follow.


Date: November 15, 2005                                           /s/
                                                   Alexander Williams, Jr.
                                                   United States District Court




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